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 2   Nevada State Bar No. 11479
     RAQUEL LAZO
 3   Assistant Federal Public Defender
     Nevada State Bar No. 8540
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     Las Vegas, Nevada 89101
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 6   Raquel_Lazo@fd.org

 7   Attorney for In Seon Seong

 8
                                 UNITED STATES DISTRICT COURT
 9
                                        DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                                  Case No. 12-cr-268-JAD-CWH

12                  Plaintiff,                                STIPULATION TO CONTINUE
                                                                SENTENCING HEARING
13          v.
                                                                    (Third Request)
14   IN SEON SEONG,

15                  Defendant.

16
17          IT IS HEREBY STIPULATED AND AGREED, by and between Steven W. Myhre,
18   Acting United States Attorney, and Kimberly M. Frayn, Assistant United States Attorney,
19   counsel for the United States of America, and Rene L. Valladares, Federal Public Defender,
20   and Raquel Lazo, Assistant Federal Public Defender, counsel for In Seon Seong, that the
21   Sentencing Hearing currently scheduled on June 5, 2017 at 11:00 a.m., be vacated and
22   continued to a date and time convenient to the Court, but no sooner than sixty (60) days.
23          This Stipulation is entered into for the following reasons:
24          1.      Since the last requested stipulation, government counsel has been actively
25   involved in attempting to resolve the restitution matter as it pertains to Ms. Seong's codefendant,
26   Ms. Choi. Ms. Choi's sentencing is scheduled for July 24, 2017 at 9:00 a.m. See ECF No. 168.
     Case
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 1   It is anticipated that Ms. Choi's sentencing may need to be continued once more before the
 2   restitution issue is fully resolved.
 3           2.      The parties believe that Ms. Seong should receive any benefit that Ms. Choi
 4   should receive regarding the outstanding restitution issue.
 5           3.      The defendant is not in custody and does not oppose a continuance.
 6           4.      The parties agree to the continuance.
 7           This is the third request for a continuance of the sentencing hearing.
 8           DATED this 18th day of May, 2017.
 9
10    RENE L. VALLADARES                               STEVEN W. MYHRE
      Federal Public Defender                          Acting United States Attorney
11
12        /s/ Raquel Lazo                                  /s/ Kimberly M. Frayn
      By_____________________________                  By_____________________________
13    RAQUEL LAZO                                      KIMBERLY M. FRAYN
      Assistant Federal Public Defender                Assistant United States Attorney
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     Case
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 1                               UNITED STATES DISTRICT COURT

 2                                    DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                                Case No. 12-cr-268-JAD-CWH
 4
                    Plaintiff,                                           ORDER
 5
            v.
 6
     IN SEON SEONG,
 7
                    Defendant.
 8
 9
10          IT IS THEREFORE ORDERED that the sentencing hearing currently scheduled for

11                                                                   August 7, 2017 at
     Monday, June 5, 2017 at 11:00 a.m., be vacated and continued to _____________________ at

12   the hourAM.
     10:00    of ____:____ ___.m.; or to a time and date convenient to the court.

13         DATED
           DATED this
                  this 19th dayday
                       _______  of May, 2017.
                                   of May, 2017.

14
15                                                _______________________________
                                                  UNITED STATES DISTRICT JUDGE
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